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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.: 17-cv-23158- MARTINEZ-OTAZO REYES

  LAWSHAWN MIDDLETON,

         Plaintiff,

  vs.

  CARNIVAL CORPORATION,

        Defendant.
  ___________________________________/

         DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION
           REQUESTING A POSTPONEMENT OF ORDER TO SHOW CAUSE

         COMES NOW, the Defendant, CARNIVAL CORPORATION, by and through

  undersigned counsel and hereby files this response in opposition to Plaintiff’s motion for a

  postponement of this Court’s Order to show case, and states as follows:

         1.       On March 12, 2018, Plaintiff’s former counsel moved to withdraw as counsel due

  to irreconcilable differences that arose between Plaintiff and her attorney. ECF 17.

         2.       Plaintiff’s former counsel requested, and Defendant did not object, to a thirty-day

  extension of all deadlines while Plaintiff sought new counsel. ECF 17, ¶4.

         3.       On April 16, 2018, the Court granted the motion to withdraw and provided

  Plaintiff until May 18, 2018 to either retain new counsel or file a notice of intent to proceed pro

  se. ECF 21.

         4.       Plaintiff subsequently filed a notice of intent to proceed pro se which was deemed

  filed on May 23, 3018. ECF 23.

         5.       On May 30, 2018, the Court re-opened this matter, ECF 24, and Plaintiff moved

  for a postponement of the July 9, 2018 trial setting. ECF 25.

         6.       On June 12, 2018, the Court granted Plaintiff’s request for continuance. ECF 27.

                                          HORR, NOVAK & SKIPP, P.A.
                TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
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         7.      On July 9, 2018, Defendant moved for summary judgment. ECF 29. Plaintiff’s

  response to Defendant’s motion for summary judgment was due on July 23, 2018. Plaintiff filed

  neither a response nor a request for additional time.

         8.      On August 1, 2018, the Court entered an Order to show cause noting Plaintiff’s

  failure to respond to the motion for summary judgment and ordered Plaintiff to show cause why

  the motion for summary judgment should not be granted on or before August 21, 2018. ECF 30.

         9.      On August 21, 2018, Plaintiff filed a request seeking a postponement of the Order

  to show cause while she sought legal counsel. ECF 31.

         10.     It has been more than three and a half months since the time for Plaintiff to obtain

  new counsel expired, and it has been almost six months since her prior counsel moved to

  withdraw.

         11.     However, Plaintiff has not shown cause why her motion should be granted nor

  specified any steps she has taken to secure new counsel whatsoever.

                                         Memorandum of Law

         Federal Rule of Civil Procedure 6(b)(1) states part that “[w]hen an act may or must be

  done within a specified time, the court may, for good cause, extend the time: (A) with or without

  motion or notice if the court acts, or if a request is made, before the original time or its extension

  expires; or (B) on motion made after the time has expired if the party failed to act because of

  excusable neglect.”

         While Defendant is mindful that pro se plaintiffs are held to a less stringent standard for

  pleading, pro se litigants are still required to follow the Court's rules and procedures, including

  the Federal Rules of Civil Procedure. See Solis v. Client Servs., 2013 U.S. Dist. LEXIS 39347, at

  *20-21 (S.D. Fla. Mar. 21, 2013) (citing Albra v. Advan, Inc., 490 F.3d 826, 829 (11th Cir. 2007)

  and Loren v. Sasser, 309 F.3d 1296, 1304 (11th Cir. 2002)).


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            In the instant matter, the time for Plaintiff to obtain new counsel expired on May 18,

  2018 – more than three and a half months ago. Additionally, the time for responding to

  Defendant’s motion for summary judgment expired on July 23, 3018.

            As Plaintiff has not shown any cause, much less good cause, why the time for her to

  respond to the motion for summary judgment, the order to show cause, or to obtain counsel have

  all expired without any substantive action by Plaintiff, the Court should deny Plaintiff’s current

  request for a postponement of the Order to show cause.

            WHEREFORE, Defendant respectfully prays that this Court deny Plaintiff’s request for a

  postponement of the Order to show cause and for such other relief the Court deems just and

  proper.

  Dated: September 4, 2018

                                                   /s/ Craig P. Liszt
                                                  David J. Horr
                                                  Florida Bar No.: 310761
                                                  dhorr@admiral-law.com
                                                  Craig P. Liszt
                                                  Florida Bar No.: 63414
                                                  cliszt@admiral-law.com
                                                  Horr, Novak & Skipp, P.A.
                                                  Two Datran Center, Suite 1700
                                                  9130 South Dadeland Boulevard
                                                  Miami, FL 33156
                                                  Telephone: (305) 670-2525
                                                  Facsimile: (305) 672-2526
                                                  Attorneys for Defendant




                                          HORR, NOVAK & SKIPP, P.A.
                TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
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                                      CERTIFICATE OF SERVICE

           WE HEREBY CERTIFY that on September 4, 2018, we electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. We also certify that the

  foregoing document is being served this day on all counsel of record or pro se parties identified

  on the attached Service List in the manner specified, either via transmission of Notices of

  Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

  parties who are not authorized to receive electronic Notices of Electronic Filing.



                                                    /s/ Craig P. Liszt
                                                   Craig P. Liszt
                                                   Florida Bar No.: 63414
                                                   cliszt@admiral-law.com
                                                   Attorneys for Defendant
  /1362108/385




                                              SERVICE LIST


  LaShawn Middleton, Pro Se                                 David J. Horr
  1924 Arbor Vista Drive                                    Florida Bar No.: 310761
  Charlotte, NC 28262                                       dhorr@admiral-law.com
  Telephone: (704) 323-7942                                 Craig P. Liszt
  lashawnmiddleton3@gmail.com                               Florida Bar No.: 63414
  Via U.S. Mail and Email                                   cliszt@admiral-law.com
                                                            Horr, Novak & Skipp, P.A.
                                                            Two Datran Center, Suite 1700
                                                            9130 South Dadeland Boulevard
                                                            Miami, FL 33156
                                                            Telephone: (305) 670-2525
                                                            Facsimile: (305) 672-2526
                                                            Attorneys for Defendant, Carnival




                                           HORR, NOVAK & SKIPP, P.A.
                 TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
